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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


              DEFENDANT’S UNOPPOSED MOTION TO UNSEAL FILING

       With the Court’s permission, the government has disclosed “all grand jury transcripts” to

the defense in discovery. ECF No. 24 at 1. Defendant Gregory B. Craig drew extensively from

these transcripts in his Motion to Dismiss Count One, filed on May 10, 2019. See ECF No. 19 at

13–19, 25–27. Out of an abundance of caution, Mr. Craig redacted the portions of his Motion

that referenced grand jury material and filed all exhibits containing grand jury material under

seal. See ECF No. 18 at 1. But Mr. Craig and his counsel are not subject to any obligation of

secrecy regarding proceedings before the grand jury. See Fed. R. Crim. P. 6(e)(2)(A)–(B). Mr.

Craig hereby moves for an order lifting the seal on the unredacted version of his Motion to

Dismiss Count One (ECF No. 18-1).1

                                         ARGUMENT

       Federal Rule of Criminal Procedure 6(e) imposes certain obligations of secrecy regarding

grand jury records, including with respect to the disclosure of grand jury records in related court


1
  The government does not oppose unsealing the unredacted version of Mr. Craig’s Motion to
Dismiss. However, the government has requested that the transcripts attached as exhibits to that
Motion remain under seal at this time so as to avoid exposing them to potential witnesses or
jurors. Although Mr. Craig does not believe that Rule 6(e) precludes him or his counsel from
disclosing the underlying transcripts in a public court filing, he does not seek to unseal the
transcripts at this time.
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proceedings. See Fed. R. Crim. P. 6(e)(5)–(6); see also In re Motions of Dow Jones & Co., 142

F.3d 496, 499–500 (D.C. Cir. 1998). In particular, Rule 6(e)(6) requires that “[r]ecords . . .

relating to grand jury proceedings must be kept under seal,” but “only ‘to the extent and as long

as necessary to prevent the unauthorized disclosure’ of such matters.”        In re Grand Jury

Subpoena, Judith Miller, 493 F.3d 152, 154 (D.C. Cir. 2007) (emphasis added) (quoting Fed. R.

Crim. P. 6(e)(6)). Therefore, if the use of grand jury material in a court filing would not amount

to an “unauthorized” disclosure under Rule 6(e), then the filing should not be sealed or redacted

pursuant to Rule 6(e)(6). Such a court filing is instead governed by the First Amendment

“general right of access to court proceedings and court documents,” under which court

documents must be disclosed to the public “unless there are compelling reasons” for public

access to be denied. Washington Post v. Robinson, 935 F.2d 282, 287 (D.C. Cir. 1991).

       Rule 6(e) lists certain “persons” who “must not disclose” grand jury matters, Fed. R.

Crim. P. 6(e)(2)(B), but criminal defendants and their lawyers are not on the list. See id. The

Rule makes clear that the list is exhaustive: “No obligation of secrecy may be imposed on any

person except” as specified on the list. Id. 6(e)(2)(A). Once the government discloses grand jury

material to a criminal defendant, subsequent disclosures of the material by the defendant are not

forbidden under Rule 6(e)(2)(B), and thus Rule 6(e)(6) does not require that court filings be

sealed or redacted to prevent such disclosures.2

       For example, in United States v. Akinyoyenu, Criminal No. 1:15-cr-00042-JEB (D.D.C.,

filed Mar. 26, 2015), after the government provided grand jury transcripts to the defense in

discovery, id. ECF No. 17 at 1, the defendant quoted extensively from those transcripts in an

unredacted motion to dismiss the indictment that was filed on the public docket, id. ECF No. 56

2
 Notably, Rule 6(e) prohibits secondary disclosures by certain specified recipients of grand jury
material, but not criminal defendants or defense counsel. See Fed. R. Crim. P. 6(e)(2)(B)(vii).
                                                   2
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at 4–9. Judge Boasberg, in turn, quoted several of the same passages in an unredacted opinion

ruling on the motion. See United States v. Akinyoyenu, 199 F. Supp. 3d 34, 35–36 (D.D.C.

2016); see also, e.g., United States v. Stevens, 771 F. Supp. 2d 556, 564–65 (D. Md. 2011);

United States v. Naegele, 367 B.R. 15, 17–18 (D.D.C. 2007). Similarly, the Supreme Court has

long recognized that, when the government provides grand jury material to the defense “to

impeach a witness” or “to test his credibility,” “the secrecy of the [grand jury] proceedings is

lifted discretely and limitedly.” United States v. Procter & Gamble Co., 356 U.S. 677, 683 &

n.7 (1958) (citing Jencks v. United States, 353 U.S. 657 (1957)). Of course, Jencks material is

frequently used in open court.

       In this case, the government sought permission to disclose grand jury material to the

defense, which the Court granted.      Apr. 15, 2019 Hrg. Tr. 23; see also Fed. R. Crim. P.

6(e)(3)(E)(i) (“The court may authorize disclosure . . . of a grand jury matter . . . in connection

with a judicial proceeding.”). Now that the government has disclosed grand jury testimony to

Mr. Craig, that testimony is no longer subject to the secrecy requirements of Rule 6(e), and thus

it should not be redacted under Rule 6(e)(6). The Court’s grant of permission for the grand jury

transcripts to be disclosed to the defense can be “subject to any . . . conditions that [the Court]

directs.” Fed. R. Crim. P. 6(e)(3)(E)(i). But Mr. Craig respectfully submits that there is no

reason for the Court to limit the government’s disclosure to Mr. Craig and his counsel only,

rather than to the public, especially given the First Amendment “general right of access to court

proceedings and court documents.” Washington Post, 935 F.2d at 287.




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                                        CONCLUSION

       The public has a right of access to the unredacted version of Mr. Craig’s Motion to

Dismiss Count One. Mr. Craig respectfully asks the Court to unseal that filing.

Dated: May 17, 2019                                Respectfully submitted,


                                                   /s/ William W. Taylor, III
                                                   William W. Taylor, III (D.C. Bar No. 84194)
                                                   Ezra B. Marcus (D.C. Bar No. 252685)
                                                   ZUCKERMAN SPAEDER LLP
                                                   1800 M Street N.W. Suite 1000
                                                   Washington, D.C. 20036
                                                   Tel: (202) 778-1800
                                                   Fax: (202) 822-8106
                                                   Email: wtaylor@zuckerman.com
                                                   Email: emarcus@zuckerman.com

                                                   William J. Murphy (D.C. Bar No. 350371)
                                                   Adam B. Abelson (D.C. Bar No. 1011291)
                                                   ZUCKERMAN SPAEDER LLP
                                                   100 East Pratt Street, Suite 2440
                                                   Baltimore, MD 21202
                                                   Tel: (410) 332-0444
                                                   Fax: (410) 659-0436
                                                   Email: wmurphy@zuckerman.com
                                                   Email: aabelson@zuckerman.com

                                                   Attorneys for Defendant Gregory B. Craig




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 17, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.


                                               /s/ Ezra B. Marcus
                                              Ezra B. Marcus




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